
*587OPINION.
Littleton
: The petitioner contends that, at the time of the Commissioner’s audit, it had, and still has, complete books and records correctly reflecting its income, and that the Commissioner erred in using the percentage method of computing its income for the year 1920.
The Commissioner’s auditor testified that he was unable correctly to determine petitioner’s income from the books made available for his inspection, while an accountant employed by petitioner to make an audit and correct its method of bookkeeping testified that the petitioner’s income for 1920 could be correctly determined from its books.
In regard to the records which petitioner claimed to have, correctly reflecting its income, it was clearly incumbent upon it to disclose their contents to the Board in order that it might be in a position to judge of the correctness or otherwise of the Commissioner’s determination.
In the absence of such records or of any available evidence of the items entering into the computation of the petitioner’s income and disbursements during the year, the Board is manifestly unable to conclude just what the income really was, and is therefore not in a position to say that the determination of the Commissioner was erroneous.

Judgment for the Commissioner.

